         Case 4:21-cv-03343-JST Document 159 Filed 07/23/24 Page 1 of 6




                                            July 23, 2024
FILED VIA ECF

The Honorable Lisa J. Cisneros
United States Magistrate Judge
U.S. District Court for the Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102

               RE:     Homyk v. ChemoCentryx, Inc., Master File No. 4:21-cv-03343-JST

Dear Judge Cisneros:
       In accordance with the July 16, 2024 Order (the “Order”), ECF No. 157, Defendants
ChemoCentryx, Inc. and Thomas J. Schall (collectively, “Defendants”) respectfully submit this
supplemental letter brief in response to Plaintiff’s motion to strike Defendants’ supplemental initial
disclosures, ECF No. 156 (“Mot.”), and supplemental brief, ECF No. 158 (“Supp. Br.”).
I.     INTRODUCTION
        Plaintiff misreads Rule 26 entirely. Rule 26 requires that parties disclose “individual[s]
likely to have discoverable information . . . that the disclosing party may use to support its claims
or defenses.” Fed. R. Civ. P. 26(a)(1)(A). Those “initial disclosures” are exchanged at the very
beginning of discovery, before written discovery, documents, or depositions. The Federal Rules
contemplate that during discovery, parties will inevitably learn additional information that
supports supplemental disclosures. See Rule 26(e)(1)(A). The purpose of Rule 26 is not to require
parties to “lock in” trial witness lists before discovery begins (or even long before it ends), but
rather to remove surprises at trial. E.g., V5 Techs. v. Switch, Ltd., 334 F.R.D. 615, 617 (D. Nev.
2020) (denying motion to strike supplemental disclosure: “[The] supplemental disclosure
requirements eliminate surprise and trial by ambush”).
        On June 18, 2024, with seven weeks remaining in fact discovery and more than a year
before trial, Defendants voluntarily updated their initial disclosures to identify additional potential
witnesses. Given Plaintiff’s familiarity with these witnesses and their relevance to the case
(Plaintiff had already subpoenaed all but three of them), Plaintiff has no basis to claim “surprise”
or “ambush.” Plaintiff is thus left trying to contort Rule 26 into something it is not by relying upon
inapposite case law. Unlike the cases on which Plaintiff relies, this is not a dispute over new
witnesses disclosed on the eve of trial or new affidavits appearing at summary judgment. Supp.
Br. at 2–5 (citing exclusively to cases involving supplemental disclosures made after close of
discovery). Defendants instead made supplemental Rule 26 disclosures during fact discovery, just
as the Rules contemplate and allow. See HM Elecs., Inc. v. R.F. Techs., Inc, 2014 WL 7183493,
at *19 (S.D. Cal. Dec. 15, 2014) (denying motion to strike supplemental disclosures made during
fact discovery: “[T]he cases Defendant relies on are inapposite. In each of them, the supplemental
witness disclosures were made after the close of discovery.”) (emphasis in original).
      Plaintiff’s motion is a transparent attempt to exclude evidence that undermines its claims.
The Motion to Strike should be denied.
         Case 4:21-cv-03343-JST Document 159 Filed 07/23/24 Page 2 of 6

The Honorable Lisa J. Cisneros
Page 2 of 6
II.    ARGUMENT
       A.      Defendants Did Not Issue Earlier Supplemental Disclosures Because These
               Witnesses—Whose Significance Grew as Plaintiff’s Case Evolved—Were
               Made Known to Plaintiff During Discovery
       The Court requested that Defendants “explain why they failed to disclose the eleven
witnesses at issue until less than two months before the fact discovery cutoff,” in light of
Defendants’ argument that the witnesses were “‘made known’ to Lead Plaintiff through the parties
exchanging hundreds if not thousands of documents . . . during fact discovery.” ECF 157 at 2.
        Defendants’ disclosures complied with Rules 26(a) and (e) because they were timely
responses to Plaintiff’s evolving case theories and unnecessary given these witnesses had been
made known to Plaintiff during discovery. The choice to issue supplemental disclosures was a
“belt & suspenders” decision to provide Plaintiff with more notice than required by the Federal
Rules, not less. While the discovery record is filled with documents produced by or referencing
all but one of the disclosed witnesses (Glen Massie), even Mr. Massie’s relevance to this case is
apparent. Mr. Massie spoke during the May 2021 Advisory Committee Meeting (“AdCom”) that
prompted the filing of this lawsuit, and his information is relevant to rebut Plaintiff’s “data
manipulation” theory that entered the case mid-discovery. Trial is not scheduled until September
2025, and witness lists are not due for another thirteen months. Given how aggressively Plaintiff
had litigated discovery issues, Defendants decided to disclose extra information—even though not
required—to avoid any conceivable claim of prejudice or surprise.
        Plaintiff’s authority demonstrates that its Motion lacks merit. Plaintiff’s argument relies
exclusively on cases discussing supplemental disclosures made in the lead up to trial1 or in
connection with summary judgment declarations.2 Supp. Br. at 2–5. For example, Plaintiff relies
on Pac-West, a case where the supplementing party “identified three new witnesses” with
information about “23 topics” “just days before [the] final pretrial conference.” Pac-West, 2023
WL 3952347, at *1. As explained by the Southern District, cases involving disclosures “after the
close of discovery” are “inapposite” when determining whether supplementation during discovery
is warranted. See HM Elecs., 2014 WL 7183493, at *19.3 This is because parties with remaining
time in fact discovery can (and often do) seek discovery from the supplemental witnesses. Id.


1
  Ollier v. Sweetwater Union High Sch. Dist., 768 F.3d 843, 863 (9th Cir. 2014); Shenwick v.
Twitter, Inc, 2021 WL 1232451, at *2 (N.D. Cal. Mar. 31, 2021); Pac-W. Distrib. NV LLC v. AFAB
Indus. Servs., Inc., 2023 WL 3952347, at *2 (E.D. Pa. June 12, 2023).
2
 Doe 1 v. City of Chicago, 2019 WL 5290899, at *8 (N.D. Ill. Oct. 18, 2019); Marksberry v. FCA
US LLC, 2021 WL 2407579, at *2 (D. Kan. June 11, 2021); Est. of McDermed v. Ford Motor Co.,
2016 WL 1298096, at *5 (D. Kan. Apr. 1, 2016); Superior Consulting Servs., Inc. v. Shaklee Corp.,
2018 WL 1474184, at *2 (M.D. Fla. Mar. 7, 2018).
3
  Plaintiff’s Supplemental Brief references only three cases where a party supplemented its
disclosure during fact discovery, exclusively in the “Background” section of its brief. Supp. Br.
at 1. Although Plaintiff claims these cases demonstrate courts “regularly” strike supplemental
disclosures, these courts actually allowed the majority of the supplemental disclosures to stand.
Baird v. Blackrock Inst. Tr. Co., 330 F.R.D. 241, 243 (N.D. Cal. 2019) (twenty-nine supplemental
         Case 4:21-cv-03343-JST Document 159 Filed 07/23/24 Page 3 of 6

The Honorable Lisa J. Cisneros
Page 3 of 6
       B.      The Individuals and Entities Likely to Have Discoverable Information
       There are eleven individuals and entities whom Defendants identified in their supplemental
disclosures: (i) the five analyst firms; (ii) Dr. Stone; (iii) Dalia Rayes; (iv) Medpace; (v) Drs.
Specks and Pagnoux; and (vi) Glen Massie.
               1.      The Five Analyst Firms
         Defendants served subpoenas to the five analyst firms on April 24, 2024, with four months
left in fact discovery. Over the next few weeks, Plaintiff served its own subpoenas on these five
firms. By June 18, 2024, however, none of the five analyst firms had produced their responsive
documents. Rather than wait for these firms to start productions, Defendants formally updated
their Rule 26 disclosures to indicate that each of these firms was “likely to have discoverable
information” that Defendants “may use to support [their] claims or defenses.” Rule 26(a)(1)(A).
Plaintiff already knew that Defendants believed these firms were “likely to have discoverable
information”—indeed, the entire purpose of a non-party subpoena is to obtain “discoverable
information” to support the subpoenaing party’s “claims or defenses.” See id.
         Plaintiff’s arguments about the analyst firms are unavailing. First, Plaintiff argues that a
total of twenty-two analyst firms covered ChemoCentryx during the Class Period, and it “had no
way of divining which . . . of the 22 analyst firms that cover ChemoCentryx Defendants intend to
rely on.” Supp. Br. at 4. This is a red herring; Defendants are relying upon only the five analyst
firms that they disclosed, that they subpoenaed, that are referenced in Plaintiff’s Complaint, and
that Plaintiff itself subpoenaed. The Court is not being asked to determine whether Plaintiff was
“made known” of the seventeen other firms.4 Second, Plaintiff argues that analysts are “often
excluded at trial” because their testimony is “irrelevant.” Supp. Br. at 4. Plaintiff is once again
conflating initial disclosures with trial witness lists (and similarly conflating its motion to strike
with a motion in limine). Disclosure of an individual pursuant to Rule 26(a) is not conditioned on
their information being admissible at trial which, of course, is impossible to know while discovery
is ongoing. And even if admissibility were an issue now, it is hard to see how stock market analysts
covering ChemoCentryx could be deemed “irrelevant” to a case about what investors knew about
the company. Third, Plaintiff chastises Defendants for disclosing the names of these firms instead

individuals; only nine stricken); Spencer v. Peters, 2012 WL 6608616, at *1 (W.D. Wash. Dec.
18, 2012) (twelve supplemental individuals; only seven stricken); Johnson v. Couturier, 2009 WL
3169965, at *1 (E.D. Cal. Sept. 28, 2009) (thirteen supplemental individuals; only two stricken).
4
  Plaintiff also suggests the Court may strike witnesses that have previously been subpoenaed, but
its reliance on a single, inapposite, out-of-circuit case only demonstrates that Defendants’
disclosures should stand. See Supp. Br. at 2 (citing Doe 1, 2019 WL 5290899, at *7). Doe 1
involved a disclosure made four months after discovery that identified two parties’ spouses as
witnesses. 2019 WL 5290899, at *7. The court struck the supplemental disclosure (despite prior
subpoenas to the spouses) because, “[the supplementing parties] had indicated in discovery
responses that [their spouses] did not have responsive information that was not protected by marital
privilege.” Id. In other words, the supplementing party had stonewalled discovery from two
sources, then reversed course after discovery closed. Nothing remotely similar has happened
here—Defendants have not prevented Plaintiff from seeking discovery into any of the at-issue
firms or individuals. See also Amadio v. Glenn, 2011 WL 13227675, at *4 (E.D. Pa. Dec. 23,
2011) (“[Parties’] subpoena . . . undermin[ed] their claim of surprise or prejudice.”).
         Case 4:21-cv-03343-JST Document 159 Filed 07/23/24 Page 4 of 6

The Honorable Lisa J. Cisneros
Page 4 of 6
of “individuals who may be used as witnesses,” Supp. Br. at 5, ignoring that Plaintiff’s own
disclosure similarly lists entity names instead of individuals. In any event, neither Rule 26(a) nor
(e) requires Defendants to know the inner workings of non-parties prior to receiving their
document productions. Defendants can, and intend to, further supplement their disclosures as they
learn the identities of relevant individuals at these firms. Finally, Plaintiff states that Defendants
“did not issue [these] document subpoenas . . . [until] a year after [the] start of fact discovery,”
Supp. Br. at 5, while ignoring that the “methods of discovery may be used in any sequence,” Rule
26(d)(3)(A). Nothing about these subpoenas, or Defendants’ decision to formally disclose the
identity of these witnesses, is improper.
               2.      Five Other Individuals and One Entity
        Plaintiff’s objections as to the other six supplemental disclosures (five individuals and one
entity) are similarly misguided. Defendants will address each in turn. Dr. Stone is a witness
subpoenaed by Plaintiff in June 2023—who produced documents in response to Plaintiff’s
subpoena. Plaintiff’s subpoena yielded documents helpful to Defendants’ position regarding
ADVOCATE’s secondary endpoints and, in particular, the glucocorticoid toxicity index (“GTI”).
Dr. Stone is deeply familiar with the GTI—which he helped develop—and Plaintiff is therefore
hunting for reasons to exclude Dr. Stone’s evidence. But no valid basis exists. Plaintiff was “made
known” of Dr. Stone’s identity “during discovery.” Rule 26(e)(1)(A). Still, Defendants chose to
formally disclose what Plaintiff already knew—that Dr. Stone was “likely to have discoverable
information,” and that Defendants may use his information to “support [their] claims or defenses.”
This is exactly how discovery is supposed to function. Parties serve subpoenas, and sometimes
uncover facts that help an adversary. But such facts are not a reason to exclude evidence, Boyd v.
City & Cty. of San. Fran., 576 F.3d 938, 948 (9th Cir. 2009), and are certainly not a reason to
strike a witness entirely. This is especially so when Plaintiff had more than a year to attempt to
rehabilitate any damage done to its case from Dr. Stone’s document production, and when it had
nearly two months to do the same after Defendants’ formal disclosure.
        Ms. Rayes was likewise well known to Plaintiff prior to Defendants’ supplementation of
their Rule 26 Disclosures. Plaintiff does not dispute that it knew about Ms. Rayes since the start
of fact discovery, that it specifically requested documents from her custodial file, or that Ms.
Rayes’ documents make up approximately 10% of the discovery record. Ms. Rayes was tasked
with commercializing ChemoCentryx’s products, and Plaintiff has put that topic into dispute by
seeking discovery into contemplated acquisitions of ChemoCentryx and arguing that
ChemoCentryx rushed to sell itself before fraud could be revealed. Ms. Rayes was involved in
market projections and may be necessary to authenticate documents and provide testimony about
ChemoCentryx’s views on its commercial prospects that are contrary to Plaintiff’s made-up
narrative. Plaintiff already requested her documents and conducted discovery about topics Ms.
Rayes worked on, so there can be no surprise that Ms. Rayes has information Defendants may use.
        Medpace was the organization responsible for conducting the ADVOCATE Phase III trial.
It provided ChemoCentryx with a broad array of services ranging from investigator training to
clinical monitoring to data management. Though the Complaint does not contain specific
allegations about Medpace, Plaintiff knew Medpace was “likely to have discoverable
information,” as it subpoenaed Medpace at the outset of discovery, in June 2023. As stated in
Defendants’ portion of the Joint Letter Brief (and as conceded in Plaintiff’s Supplemental Brief)
Plaintiff’s case theory changed in the middle of discovery. Ltr. Br. at 4; Supp. Br. at 3. During
the deposition of Dr. Richard Glassock, Plaintiff began accusing Defendants of manipulating data
         Case 4:21-cv-03343-JST Document 159 Filed 07/23/24 Page 5 of 6

The Honorable Lisa J. Cisneros
Page 5 of 6
about avacopan’s efficacy to trick the FDA into approving an ineffective drug. This theory grew
in significance and scope in depositions that followed during the discovery period. In direct
response to this new theory, Defendants identified four witnesses, including Medpace. Despite
Medpace being “made known” to Plaintiffs during discovery through a combination of Plaintiff’s
own subpoena to Medpace, its own motion to compel Medpace’s production, and Medpace’s
document production in mid-July 2024, Defendants nonetheless supplemented their Rule 26
disclosures to formally identify Medpace (before Medpace even finished its document production).
        For the same reason Defendants did not disclose Medpace at the start of discovery (the
allegations implicating its knowledge were not raised in the Complaint), Defendants could not
have known that Dr. Specks and Dr. Pagnoux would become relevant by virtue of Plaintiff’s
shifting case theories. Drs. Pagnoux and Specks were investigators during the ADVOCATE trial.
They saw patients with ANCA-associated vasculitis, administered avacopan or placebo
medications based on the ADVOCATE trial protocol, and evaluated patients’ symptoms based on
a scoring system disclosed in the trial protocol. Their knowledge about patient-level data and how
the trial was conducted by its investigators is now relevant to establish that there was no
“manipulation” of clinical data. And of the ADVOCATE investigators, Defendants disclosed two
that had been referenced more than 10,000 times each in the discovery record. Plaintiff cannot
have it both ways—simultaneously making up new unpled theories, but then prohibiting
Defendants from developing their own evidence to rebut these false allegations.
        The final individual with information relevant to Plaintiff’s new theory is Glen Massie, a
patient who used TAVNEOS®. Mr. Massie is a patient advocate who spoke during the AdCom
that prompted this lawsuit. See ECF 87-30 (AdCom Tr.) 197:4–200:14. Plaintiff argues that Mr.
Massie and his use of TAVNEOS® have “nothing to do with . . . data manipulation,” Supp. Br. at
3, but this argument fails under any scrutiny. Plaintiff’s data manipulation theory rests on an
unsound premise that ChemoCentryx tricked the FDA into approving an ineffective drug. By
disclosing Mr. Massie, Defendants are informing Plaintiff that they may use information about
how he used TAVNEOS® to demonstrate it is an effective, life-saving drug. Plaintiff’s desire to
keep favorable information out of the record does not warrant striking Mr. Massie’s disclosure.
       C.      There Has Been No Harm to Plaintiff
        When Plaintiff filed its Joint Discovery Letter, it argued that “the few weeks remaining of
fact discovery” were not sufficient to “seek and obtain new document discovery.” Ltr. at 3.
Plaintiff’s assertion has proven false. In the time since Defendants supplemented their disclosures,
Plaintiff issued six new subpoenas to third parties who do not appear on either party’s Rule 26
disclosures. Plaintiff could have easily served subpoenas (or additional subpoenas) to the
individuals included on Defendants’ supplemental disclosures, but it chose not to. See California
v. Ross, 2019 WL 1975437, at *2 (N.D. Cal. Jan. 4, 2019) (allowing supplemental disclosures
made 26 days before trial and not extending case deadlines because party had sufficient “time to
engage in . . . discovery” even though it ultimately “declined to depose [the new witnesses] or seek
discovery”); see also Rule 37(c)(1) (no exclusions if belated disclosure is “harmless”). Any
failures by Plaintiff to obtain further discovery into the individuals identified in Defendants’
supplemental disclosures stem from Plaintiff’s own strategic decision to pursue motion practice
instead of discovery, not any wrongdoing by Defendants.
III.   CONCLUSION
       Defendants respectfully request that the Court deny Plaintiff’s Motion to Strike.
        Case 4:21-cv-03343-JST Document 159 Filed 07/23/24 Page 6 of 6

The Honorable Lisa J. Cisneros
Page 6 of 6

LATHAM & WATKINS LLP

By: /s/ Colleen C. Smith
Colleen C. Smith (Bar No. 231216)
Colleen.Smith@lw.com
12670 High Bluff Drive
San Diego, California 92130
T: (858) 523-5400
Meryn C. N. Grant (Bar No. 291315)
Meryn.Grant@lw.com
10250 Constellation Blvd Suite 1100
Century City, CA 90067
T: (424) 653-5500
Michele D. Johnson (Bar No. 198298)
Michele.Johnson@lw.com
650 Town Center Drive, 20th Floor
Costa Mesa, CA 92626-1925
T: (714) 540-1235 / F: (714) 755-8290
Susan E. Engel (pro hac vice)
Susan.Engel@lw.com
555 Eleventh Street, N.W., Suite 1000
Washington, D.C. 20004-1304
T: (202) 637-2200

Attorneys for Defendants ChemoCentryx, Inc. and Thomas J. Schall
